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                            U NITED S TATES D ISTRICT C OURT
                          S OUTHERN D ISTRICT OF N EW Y ORK


 Charles Lyons

Write the full name of each plaintiff.                                _____CV_______________
                                                                     (Include case number if one has been
                                                                     assigned)

                           -against-
                                                                           COMPLAINT
  Yehonotan Sade, Vero Capital
                                                                         Do you want a jury trial?
  Elite Street Capital                                                       ‫ ܆‬Yes    ‫ ܆‬No




Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section II.




                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual’s full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
   See Federal Rule of Civil Procedure 5.2.




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I.    BASIS FOR JURISDICTION
Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.
What is the basis for federal-court jurisdiction in your case?

     ‫ ܆‬Federal Question

     ‫ ܆‬Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
     Breach of contract, exposure to toxic mold




 B. If you checked Diversity of Citizenship

      1. Citizenship of the parties

 Of what State is each party a citizen?

 The plaintiff ,    Charles Lyons                                     , is a citizen of the State of
                   (Plaintiff’s name)

        Georgia
 (State in which the person resides and intends to remain.)

 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                  .
 If more than one plaintiff is named in the complaint, attach additional pages providing
 information for each additional plaintiff.



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 If the defendant is an individual:

 The defendant,      Yehontan Sade                                     , is a citizen of the State of
                    (Defendant’s name)

          New York
 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                   .
 If the defendant is a corporation:

 The defendant,      Vero Capital                            , is incorporated under the laws of

 the State of         New York

 and has its principal place of business in the State of          New York

 or is incorporated under the laws of (foreign state)

 and has its principal place of business in                                                             .

 If more than one defendant is named in the complaint, attach additional pages providing
 information for each additional defendant.

II. PARTIES

A. Plaintiff Information
Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

 Charles                         J                          Lyons
First Name                      Middle Initial           Last Name

  3950 June Apple Court
Street Address

    DeKalb County, Decatur                         GA                        30034
County, City                                     State                          Zip Code

470-403-8678                                         a481977@gmail.com
Telephone Number                                 Email Address (if available)



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B. Defendant Information
To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:        Yehontan Sade
                  First Name                     Last Name
                   CEO
                  Current Job Title (or other identifying information)
                   650 5th Avenue 20th Floor
                  Current Work Address (or other address where defendant may be served)
                    New York                               NY                     10019
                  County, City                          State                Zip Code

Defendant 2:        Vero Capital
                  First Name                     Last Name


                  Current Job Title (or other identifying information)
                    650 5th Avenue 20th Floor
                  Current Work Address (or other address where defendant may be served)
                   New York                               NY               10019
                  County, City                          State                Zip Code

Defendant 3:       Elite Street Capital
                  First Name                     Last Name


                  Current Job Title (or other identifying information)
                     650 5th Avenue 20th Floor
                  Current Work Address (or other address where defendant may be served)
                   New York                            NY                    10019
                  County, City                          State                Zip Code




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Defendant 4:
                  First Name                     Last Name


                  Current Job Title (or other identifying information)


                  Current Work Address (or other address where defendant may be served)


                  County, City                          State               Zip Code

III. STATEMENT OF CLAIM
Place(s) of occurrence: 611 Ashley Lakes Dive Peachtree Corners, GA 30092


Date(s) of occurrence:           July 2019

FACTS:
State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

Defendant violated 41 US Code 6503 by breach of contract and USC 1332.
 Defendant was under contractual obligation during lease to repair mold infected
 unit caused by the unit above Plaintiff’s unit and defendant refused to do so
 materially breaching contract, causing toxic mold exposure and mildew damage
 throughout the whole unit.




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 INJURIES:
 If you were injured as a result of these actions, describe your injuries and what medical
 treatment, if any, you required and received.

Exposure to toxic mold, property damage, rent damages




 IV. RELIEF
 State briefly what money damages or other relief you want the court to order.

 Award of statutory, actual and punitive damages for Plaintiff for toxic mold exposure,
 Breach of contract and failure to disclose of mold at property.




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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.


Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

  10/20/2024
Dated                                                   Plaintiff’s Signature
Charles                       J                         Lyons
First Name                     Middle Initial           Last Name
  3950 June Apple Court
Street Address
DeKalb County, Decatur                                  GA                      30034
County, City                                    State                           Zip Code
  4704038678                                                 a481977@gmail.com
Telephone Number                                        Email Address (if available)




I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
‫ ܆‬Yes    ‫ ܆‬No

     If you do consent to receive documents electronically, submit the completed form with your
     complaint. If you do not consent, please do not attach the form.




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